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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISON

SUSAN BACS and
JESSICA ROUBERT,

      Plaintiffs,

v.                                     CASE NO.: 8:21-cv-2852-TPB-TGW

CAPITAL ONE FINANCIAL
CORPORATION,

    Defendant.
_____________________/

          PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION

      Pursuant to Fed.R.Civ.P. 23, Named Plaintiffs, Jessica Roubert and Susan

Bacs, respectfully move this Honorable Court to certify this case as a class action

for the following class of similarly-situated individuals:

      National COBRA Putative Class:
      All participants and beneficiaries in the Defendant’s Health
      Plan who were sent a COBRA notice by Defendant, in the
      form attached as Exhibit A, during the applicable four-year
      statute of limitations period, because of a “qualifying event”
      as determined by Defendant’s records, who did not elect
      continuation coverage.

                           OVERVIEW OF MOTION

      The record evidence in this case demonstrates the following: (1) the putative

class is comprised of over 28,763 individuals; (2) each of those individuals received

the same or similarly deficient COBRA notice and then lost insurance; (3) the

Named Plaintiffs and class members have standing; (4) the class members are
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identifiable through the records of Defendant’s COBRA Administrator,

WageWorks; and, finally, (5) as Judge Merryday explained several years ago when

analyzing a nearly identical COBRA form in Valdivieso v. Cushman & Wakefield,

Inc.,1 Defendant’s COBRA notice omits legally required information. For these

reasons, and as explained further below, this case is well-suited for class treatment.

       By way of a brief background, Plaintiffs allege that Defendant violated 29

C.F.R. §§ 2590.606-4(b)(4) and (4)(b)(4)(viii) by failing to include in its COBRA

notice the specific date that coverage ends if elected.2 According to the Court’s July

7, 2022, Order denying Defendant’s Motion to Dismiss, “ ‘Although the 18-month

language satisfies the requirement that an employer include an ‘explanation of the

maximum period for which continuation coverage will be available,’ the

regulation’s inclusion of the phrase ‘termination date’ suggests that the employer

must identify the day on which coverage ends.’ ” (Doc. 52)(citing and quoting

Valdivieso v. Wakefield, Inc., No. 8:17-cv-118-T-23JSS, 2017 WL 2191053, at *1

(M.D. Fla. May 18, 2017). Consequently, the Capital One COBRA notice was not

written in a manner calculated to be understood by the average plan participant.

As such, the Capital One COBRA notice violates the law.

       Plaintiffs respectfully submit that not only have they stated a plausible

claim, Plaintiffs have brought a meritorious claim. For this reason, at the


1No. 8:17-CV-118-T-23JSS, 2017 WL 2191053 (M.D. Fla. May 18, 2017).
2In fact, discovery in this case has shown that Capital One now includes the COBRA coverage end
date in its COBRA notices. (Miller Depo., p. 29, lines 10-25 through p. 30, lines 1-8; p. 31, lines 1-
13). However, Capital One’s decision to later correct its COBRA forms does not resolve the claims
of Plaintiffs and those of the putative class members.
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appropriate time Plaintiffs will seek summary judgment as to liability, leaving for

trial only the issue of statutory damages.

      Rule 23(a) and Rule 23(b)(3) are both met. Beginning with class size, the

proposed class definition includes thousands of people nationwide [numerosity].

Each putative class member received the same deficient COBRA notice and, as

such, has a claim for statutory penalties [commonality]. The Named Plaintiffs’

claim also stem from Defendant’s same conduct, specifically the deficient COBRA

notice [typicality]. Not only that, the Named Plaintiffs are excellent class

representatives who retained skilled class action lawyers and lack any conflicts

with class members [adequacy]. Additionally, class treatment is warranted here

because the resolution of whether Capital One’s COBRA Notice complies with the

law does not require individualized inquiries. Rather, it is an objective

determination central to the resolution of all class members’ claims

[predominance]. Thousands of potential class members received the deficient

Capital One COBRA Notice at issue in this lawsuit. If Plaintiffs prevail it is likely

that each individual class member would be entitled to damages under the law. For

many class members, the claims will be small in relation to the costs and expenses

of litigating the claims, making it unlikely that the claims would be pursued

individually. Consequently, the class mechanism is unquestionably superior

[superiority].

      Any challenge mounted by Defendant as to the content of its deficient

COBRA notice would apply uniformly. The same is true for each of Defendant’s

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core affirmative defenses. Decisions by the Court on these issues are, therefore,

appropriately made to the class members as a whole, as evidenced by certification

under Rule 23 of a nearly identical nationwide class in Vazquez v. Marriott Int’l,

Inc., No. 817-cv-00116-MSS-MAP, 2018 WL 3860217, at *1 (M.D. Fla. Aug. 7,

2018). Notably, the Eleventh Circuit Court of Appeals rejected the Vazquez

defendant’s petition seeking permission to appeal the Vazquez class certification

order (see Exhibit B), further demonstrating the propriety of class treatment in this

case.

        Finally, Plaintiffs’ proposed class definition mirrors no less than ten (10)

other class action cases certified under Rule 23 by Courts in the Middle District of

Florida. Many of those cases involved the same (or a very similar) WageWorks

form to that used by Capital One here. Those cases include:

        1.    Vazquez v. Marriott Int'l, Inc., No. 8:17-cv-00116-MSS-MAP,
              2018 WL 3860217 (M.D. Fla. Aug. 7, 2018)(Judge Scriven
              certified nationwide Rule 23 class of 19,000 people in deficient
              COBRA notice case; notably, the Eleventh Circuit also rejected
              Marriott’s Rule 23(f) petition challenging Article III standing);

        2.    Valdivieso v. Cushman & Wakefield, Inc., Case No.: 8:17-cv-
              00118-SDM-JSS (M.D. Fla. Dec. 7, 2018)(Doc. 92)(Judge
              Merryday certified nationwide Rule 23 class of 2,000+ people
              for settlement purposes in deficient COBRA notice case in a
              case involving a WageWorks COBRA very similar to that used
              by Capital One);

        3.    Hicks v. Lockheed Martin Corporation, Case No.: 8:19-cv-
              00261-JSM-TGW (M.D. Fla. Dec. 11, 2019)(Doc. 41)(Judge
              Moody certified nationwide Rule 23 class of 54,000+ people for
              settlement purposes in deficient COBRA notice case involving a
              WageWorks COBRA very similar to that used by Capital One);


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      4.    Silberstein v. Petsmart, Inc., 8:19-cv-02800-SCB-AAS (M.D.
            Fla. Dec. 4, 2020)(Doc. 38) (Judge Bucklew certified
            nationwide Rule 23 class of 12,000+ people for settlement
            purposes in deficient COBRA notice case involving a
            WageWorks COBRA very similar to that used by Capital One);

      5.    Rigney et al v. Target Corporation, Case No.: 8:19-cv-01432-
            MSS-JSS (M.D. Fla. Nov. 11, 2020) (Judge Scriven certified
            nationwide Rule 23 class of 92,000+ people for settlement
            purposes in deficient COBRA notice case);

      6.    Morris, et al., v. US Foods, Inc., Case No.: 8:20-cv-00105-
            SDM-CPT (M.D. Fla. Nov. 5, 2021)(Doc. 56)(Judge Merryday
            certified nationwide Rule 23 class of 19,000+ people for
            settlement purposes in deficient COBRA notice case);

      7.    Taylor v. Citizens Telecom Services Company, LLC, Case No.:
            8:20-cv-00509-CEH-CPT (M.D. Fla. Feb. 8, 2022) (Doc. 65)
            (Judge Honeywell certified nationwide Rule 23 class of 16,137
            people for settlement purposes in deficient COBRA notice case
            involving a WageWorks COBRA very similar to that used by
            Capital One);

      8.    Kaintz v. The Goodman Group, Inc., 8:20-cv-02115-VMC-AAS
            (M.D. Fla. August 23, 2021) (Doc. 48) (Judge Covington
            certified nationwide Rule 23 class of 2,889 people for
            settlement purposes in deficient COBRA notice case appointed
            as class counsel in deficient COBRA notice case);

      9.    McNamara v. Brenntag Mid-South, Inc., Case No.: 8:21-cv-
            00618-MSS-JSS (M.D. Fla. Feb. 17, 2022) (Doc. 32) (Judge
            Scriven certified nationwide Rule 23 class of 800+ people for
            settlement purposes in deficient COBRA notice case involving a
            WageWorks COBRA very similar to that used by Capital One);

      10.   Carnegie v. FirstFleet Inc., M.D. Fla. Case No.: 8:18-cv-01070-
            WFJ-CPT (M.D. Fla. June 21, 2019)(Doc. 63) (Judge Jung
            certified nationwide Rule 23 class of 2,008 people for
            settlement purposes in deficient COBRA notice case involving a
            WageWorks COBRA form very similar to that used by Capital
            One).



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      In each of these cases—collectively involving over 200,00 class members—v

Courts here in the Middle District of Florida found Rule 23(a) and Rule 23(b)

satisfied and certified nationwide classes. Merely that many of the above cases

were certified for settlement purposes has no bearing on standing, nor should that

alter the Court’s analysis here. Constitutional standing under Article III does not

change merely because a case is settled. Additionally, both Rule 23(a) and Rule

23(b)(3) must both be satisfied for preliminary and final approval of class action

settlements. Finally, the Vazquez case was certified over the Defendant’s

objection—it was not certified for settlement purposes until much later.

      Based on these facts, coupled with the attached record evidence and

authorities cited herein, Plaintiffs respectfully ask this Honorable Court to grant

this Motion.

                       BRIEF OVERVIEW OF COBRA

      In terms of background on COBRA’s notice requirements, the Eleventh

Circuit has explained that providing notification of COBRA rights is important

because employees are not expected to know instinctively of their right to continue

their healthcare coverage. Cummings v. Washington Mut., 650 F.3d 1386, 1391

(11th Cir. 2011). Defective or misleading COBRA notices do not comply with the

law. Scott v. Suncoast Beverage Sales, Ltd., 295 F.3d 1223 (11th Cir. 2002).

      In 2004 the Secretary of Labor promulgated a notice regulation, 29 C.F.R. §

2590.606–4. To facilitate compliance with these notice obligations, the DOL

issued a Model COBRA Continuation Coverage Election Notice, included in the

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Appendix to 29 C.F.R. § 2590.606-4, that provides a “safe-harbor” if used.

Valdivieso v. Cushman & Wakefield, Inc., No. 8:17-CV-118-T-23JSS, 2017 WL

2191053, at *2 (M.D. Fla. May 18, 2017). A copy of the DOL’s Model Notice is

attached hereto as Exhibit C. Employers are not required to use the Model Notice.

See Id. However, if an employer acting as a plan administrator declines to use the

DOL’s Model Notice, and the employer also fails to meet the notice requirements

of 29 U.S.C. § 1166 and 29 C.F.R. § 2590.606-4, it is subject to statutory monetary

penalties. Id.

       Such is the case here. Defendant declined to use the DOL’s Model Notice.

Defendant’s COBRA notice violates the law. As such, and due to the uniformity of

Defendant’s actions and the COBRA notice utilized, this case is well-suited for class

treatment.

                                   SUPPORTING FACTS

       1.      Named Plaintiff Jessica Roubert worked for Capital One for almost

eleven years, from November 2007 until October 28, 2018. (See Defendant’s

Answer, Doc. 53, p. 10, ¶ 29); (see also Declaration of Jessica Roubert, ¶ 9).

       2.      At the time of her separation from employment, both Jessica Roubert

and her disabled son were participants in the Capital One Dental Plan. (Roubert,

Depo. p. 9, lines 19-22).4 In addition to the Capital One Dental Plan, Jessica

Roubert also participated in the Capital One Health Plan. (Id.).


4Named Plaintiff Jessica Roubert was deposed on August 1, 2022. Thus, only a “rough” version
of her deposition transcript is currently available and is attached hereto. Once the final, or “clean”
version is made available to the parties, the undersigned will promptly file it with the Court.
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      3.     Named Plaintiff Susan Bacs worked for Capital One for over six years,

from January 2013 until November 26, 2018. (See Defendant’s Answer, Doc. 53, p.

10, ¶ 26); (see also Declaration of Susan Bacs, ¶ 9). She participated in both the

Capital One Health and Dental Plans. (Declaration of Susan Bacs, ¶ 10).

      4.     As a result of losing their jobs at Capital One, the Named Plaintiffs

both experienced a “qualifying event” as defined by ERISA, entitling them to

notification of their rights under COBRA. (See Composite Exhibit A, copies of the

Named Plaintiffs’ COBRA notices).

      5.     Defendant’s COBRA Administrator, WageWorks, then mailed the

Named Plaintiffs COBRA notices.             (Declaration of Susan Bacs, ¶¶ 11-13);

(Declaration of Jessica Roubert, ¶¶ 13-14). Those notices are deficient as a matter

of law. They are attached as Composite Exhibit A.

      6.     Critically for purposes of this Motion, the same or substantially

similar COBRA form was used by Capital One from December 7, 2017, through

December 2021. (Miller Depo., p. 29, lines 10-18; and p. 53, lines 9-25 through p.

54, lines 1-9) (see also Exhibit D, Defendant’s Answers to Interrogatories,

Response # 1).

      7.     According to Capital One’s sworn interrogatory responses and its

corporate representative’s sworn deposition testimony, the same COBRA form was

sent by Capital One to at least 28,763 individuals, all of whom fit the class



Finally, Named Plaintiff Susan Bacs will be deposed on August 12, 2022, which is after the
deadline to file this Motion. Thus, her transcript is not made part of this Motion.
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definition.5 (Miller Depo., p. 29, lines 10-18; and p. 53, lines 3-25 through p. 54,

lines 1-9) (see also Exhibit D, Defendant’s Answers to Interrogatories, Response #

1).

       8.      The COBRA notices sent out on behalf of Capital One to the class

members are meaningfully identical to the notices sent to Plaintiffs (see Exhibit A)

because, as the Court noted when denying Defendant’s Motion to Dismiss, the

notices fail to identify the COBRA coverage end date. (Miller Depo., p. 38, lines 3-

21; p. 58, line 24 through p. 60, line 2; and p. 74, lines 21-25).

       9.      The only differences between among the COBRA notices the class

members received were formatting or grammatical changes. (Miller Depo., p. 38,

lines 3-21; p. 58, line 24 through p. 60, line 2; and p. 74, lines 21-25). Minor, non-

substantive differences in the COBRA form should not impact class certification.

       10.     The information needed to identify the class members is readily

ascertainable. (Miller Depo., p. 54, lines 15-24). Specifically, Defendant can obtain

the last known mailing addresses for every class member. (Miller Depo., p. 54 line

25 through p. 55, lines 1-4).

       11.     Unlike in many class cases, here Defendant has already admitted

Plaintiffs’ class definition satisfies numerosity under Rule 23(a). (See Exhibit E,

Defendant’s Responses to Plaintiffs’ First Request for Admissions, Responses # 5).


5The total number of class members may be much higher. Defendant’s corporate representative
provided conflicting testimony on the total number of class members, varying between 53,000
and “in the high 20,000s.” (See Miller Depo., p. 51, line 7 – p. 53, line 8). Plaintiffs have relied
on the lower, more conservative number of class members provided by Defendant. Regardless,
the number easily exceeds the numerosity threshold required for certification under Rule 23(a).
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 Not only that, Defendant has the ability to determine which individuals sent the

 COBRA form did not elect coverage. (Miller Depo., p. 54, lines 15-24).

       12.       Thus, the class is both well-defined and the information relevant to

 contacting the class members easily ascertainable.

       13.       Importantly, the Capital One WageWorks COBRA notice is nearly

 identical to the WageWorks COBRA form Judge Merryday analyzed in Valdivieso

 v. Wakefield, Inc., No. 8:17-cv-118-T-23JSS, 2017 WL 2191053 (M.D. Fla. May 18,

 2017). (See Miller Depo., p. 60, lines 3-20); (see also Doc. 38-1 and Doc. 38-2 for

 comparison of Capital One COBRA form to COBRA form analyzed by Judge

 Merryday in Valdivieso).

       14.       As explained by Defendant’s corporate representative and Human

 Resources Director, Julie Miller, it ultimately was Defendant who is responsible

 for the content of the COBRA form at issue in this lawsuit. (Miller Depo., p. 26,

 lines 14-16).

       15.       In terms of standing, the Named Plaintiffs and Class Members each

 have standing by virtue of the deficient COBRA notice form they received coupled

 with their subsequent loss of insurance. (Declaration of Jessica Roubert, ¶¶ 12-

 14); (see also attached Declaration of Susan Bacs, ¶¶ 11-13).

       16.       Additionally, Named Plaintiff Jessica Roubert testified that not only

 did she lose her health insurance coverage (Declaration of Jessica Roubert, ¶ 16),

 she also lost her established psychiatrist when she later became covered under her

 husband’s employer’s health insurance plan. (Roubert, p. 173, lines 8-11).

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          17.   Plaintiff Jessica Roubert also incurred out-of-pocket expenses for

 medical related coverage because of Defendant’s deficient COBRA notice.

 (Roubert, p. 91, lines 8-19). For example, during the months immediately after the

 end of her employment Roubert paid for prescriptions for herself out of pocket.

 (Roubert, p. 91, lines 8-19).

          18.   Ultimately, she lost her health insurance as a result of Defendant’s

 COBRA notice and suffered economic damages in the form of out of pocket medical

 expenses as a result. (Roubert, p. 91, lines 8-16).

          19.   Likewise, as indicated in her attached sworn declaration, Named

 Plaintiff Susan Bacs encountered similar issues. On December 4, 2018, Ms. Bacs

 received the COBRA coverage election notice, attached as Exhibit A. (Declaration

 of Susan Bacs, ¶ 12).

          20.   In her attached declaration, Ms. Bacs went on to explain that following

 her termination, she lost her livelihood and health benefits. (Declaration of Susan

 Bacs, ¶ 15). In fact, Ms. Bacs’ and her family went without health insurance for

 December 2018. (Id.). Unfortunately, both her husband and child have chronic

 health conditions. (Id.). While the Bacs went without insurance, they had to cancel

 previously scheduled appointments. (Id.).

          21.   Ms. Bacs then incurred higher costs for health insurance for herself

 and her children after her termination. (Declaration of Susan Bacs, ¶ 16). For

 instance, her family’s health insurance premiums increased by $717.54 per month.

 (Id.).

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        22.    The facts and record evidence in this case demonstrate that class

 treatment is warranted. Plaintiffs respectfully ask that this Honorable Court grant

 this Motion accordingly.

                              MEMORANDUM OF LAW

 A.     Legal Standard.

        According to the Eleventh Circuit, “the named plaintiffs must have standing,

 and the putative class must meet each of the requirements specified in Federal

 Rule of Civil Procedure 23(a), as well as at least one of the requirements set forth

 in Rule 23(b).” Klay v. Humana, Inc., 382 F.3d 1241, 1250 (11th Cir. 2004).

 Plaintiffs respectfully submit they satisfied both Fed.R.Civ.P. 23(a) and

 Fed.R.Civ.P. 23(b)(3), and ask that this Court grant this Motion.

 B.     Standing.

        A threshold requirement of class certification is that the named plaintiff is

 part of the proposed class. To have “class representative standing,” a class

 representative must ... be part of the class and possess the same interest and suffer

 the same injury as the class members.”6 Named Plaintiffs Susan Bacs and Jessica

 Roubert are unquestionably part of the class and possess the same interest and

 suffered the same injury as the class members.

        To establish Article III standing, a plaintiff need only show (i) that he

 suffered an injury in fact that is concrete, particularized, and actual or imminent;



 6Fox v. Ritz-Carlton Hotel Co., L.L.C., 977 F.3d 1039, 1046 (11th Cir. 2020) (quotation marks
 omitted); General Telephone Co. of Southwest v. Falcon, 457 U.S. 147, 156 (1982).
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 (ii) that the injury was likely caused by the defendant; and (iii) that the injury

 would likely be redressed by judicial relief. TransUnion LLC v. Ramirez, 141 S. Ct.

 2190, 2203, 210 L. Ed. 2d 568 (2021).

       To be sure, both the Named Plaintiffs and the class members all received the

 same, or a substantially similar, deficient COBRA form. They also all lost their

 insurance thereafter. Thus, Named Plaintiffs Susan Bacs and Jessica Roubert—as

 well as each class member—have standing. Indeed, as the Court explained in its

 July 22, 2022, Order, “Plaintiffs, however, allege that they lost their insurance

 coverage due to the deficiency in the notice. Plaintiffs also allege that they incurred

 significant medical costs due to the loss of insurance. The Court finds that these

 allegations are sufficient to establish the causation requirement for Article III

 standing.” (Doc. 52, p. 4).

       Nothing has changed. In fact, paragraphs 15 – 22 from Plaintiffs’ Supporting

 Facts section of this brief (incorporated here by reference for brevity), coupled with

 the attached sworn Declarations from both Roubert and Bacs, along with the

 attached sworn deposition testimony from Roubert, and the well-pleaded facts

 from the Amended Complaint, serve to further establish the Named Plaintiffs’

 standing. The Court should follow its July 22, 2022, Order and find that standing

 remains    satisfied.   See   also    Vazquez     v.   Marriott    Int'l,   Inc.,   No.

 817CV00116MSSMAP, 2018 WL 3860217, at *2 (M.D. Fla. Aug. 7, 2018) (granting

 motion for class certification and holding that, “Plaintiff has standing because she

 alleges facts that present questions of whether: (1) Defendant provided adequate

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 COBRA notification and (2) the failure to receive adequate COBRA notice resulted

 in unpaid medical bills.”); See also McNamara v. Brenntag Mid-South, Inc., Case

 No.: 8:21-cv-00618-MSS-JSS (M.D. Fla. Feb. 17, 2022) (Doc. 32)(granting final

 approval of deficient COBRA notice class action settlement and finding as follows,

 “Furthermore, the Class Representative and Class Members have Article III

 standing.”). (Emphasis added).

        Although not necessary, the class members also each have standing.

 Proposed class members are former employees of Defendant who have been

 identified by objective criteria—specifically because they were all sent a deficient

 COBRA notice by Defendant’s COBRA administrator, WageWorks, and then lost

 their health insurance. Thus, they have standing for the same reason that Roubert

 and Bacs have standing. Indeed, while Defendant may attack causation in this

 context, any such attack on standing in this context in the Eleventh Circuit must

 be resolved in Plaintiffs’ favor.7

        Although Defendant will likely argue that the class is somehow unworkable,

 or even that the class members lack the requisite standing because Plaintiffs’



 7 See, e.g., Lawrence v. Dunbar, 919 F.2d 1525, 1528 (11th Cir. 1990)(Attacks on subject matter
 jurisdiction come in two forms. ‘Facial attacks’ on the complaint ‘require[ ] the court merely to
 look and see if [the] plaintiff has sufficiently alleged a basis of subject matter jurisdiction, and the
 allegations in his complaint are taken as true for the purposes of the motion.’ Menchaca v.
 Chrysler Credit Corp., 613 F.2d 507, 511 (5th Cir.), cert. denied, 449 U.S. 953, 101 S.Ct. 358, 66
 L.Ed.2d 217 (1980) (citing Mortensen v. First Fed. Sav. & Loan Ass'n, 549 F.2d 884, 891 (3d
 Cir.1977)). ‘Factual attacks,’ on the other hand, challenge “the existence of subject matter
 jurisdiction in fact, irrespective of the pleadings, and matters outside the pleadings, such as
 testimony and affidavits, are considered.” Id.)


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 proposed class definition may “include[] individuals who experienced no impact,

 this contention points to whether questions of individual damages predominate,

 not whether the class is adequately defined and ascertainable.”          Vazquez v.

 Marriott Int'l, Inc., No. 817CV00116MSSMAP, 2018 WL 3860217, at *2 (M.D. Fla.

 Aug. 7, 2018) (citing to Speedway, No. 8:16-CV-03280, slip op. at *3 (M.D. Fla.

 May 31, 2018) (citing Comcast Corp. v. Behrend, 569 U.S. 27, 34 (2013)).

       Defendant may also argue class certification is inappropriate because it

 requires an individualized inquiry into whether each putative class member

 suffered the same concrete injury attributable to the same causation. However, if

 raised by Capital One, such standing-related arguments should be rejected.

 Moreover,

       First, the Named Plaintiffs and every class member all suffered the same

 concrete injury in the form of a deficient COBRA notice that caused the loss of

 health insurance. These facts alone satisfy the first two standing elements set forth

 in Ramirez. Likewise, the third element, redressability, is also satisfied by the

 Named Plaintiffs and the class members by virtue of the statutory damages and

 equitable relief they seek pursuant to 29 U.S.C. § 1132. See, e.g., Bryant v. Compass

 Grp. USA, Inc., 958 F.3d 617, 621 (7th Cir. 2020) (“the prospect of statutory

 damages shows that such an injury is redressable”).

       Second, even if the Court, in its sole discretion, chooses to examine class

 members’ injuries and the corresponding penalties individually, “this still does not

 defeat class certification.” Vazquez, 2018 WL 3860217, at *7 (M.D. Fla. Aug. 7,

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 2018). As the Supreme Court recently noted, “[w]hen ‘one or more of the central

 issues in the action are common to the class and can be said to predominate, the

 action may be considered proper under Rule 23(b)(3) even though other important

 matters will have to be tried separately, such as damages or some affirmative

 defenses peculiar to some individual class members.’ ” Id.8

        Third, the COBRA notice provisions Defendant violated do not turn on

 whether a given employee had a “need” for continuation coverage. So, standing

 arguments suggesting class members who did not want or could not afford COBRA

 coverage somehow lack standing fail as a matter of law. Here, the proposed class

 is comprised of former Capital One Health Plan participants and beneficiaries who

 were enrolled in the Capital One Health Plan and who were not provided the legally

 required notice of COBRA continuation coverage. “Their actual need for

 continuation coverage (or lack thereof) has no bearing on their membership in the

 class.” Bhattacharya v. Capgemini N. Am., Inc., 324 F.R.D. 353, 361–62 (N.D. Ill.

 2018).

        Finally, Plaintiffs acknowledge that in Drazen v. Pinto, No. 21-10199, 2022

 WL 2963470 (11th Cir. July 27, 2022), the Eleventh Circuit held that a definition

 of settlement class was defective by including class members who lacked Article III

 standing because they had not suffered an injury in fact under circuit precedent.


 8 (citing Tyson Foods, Inc. v. Bouaphakeo, 136 S. Ct. 1036, 1045 (2016) (quoting 7AA C. Wright,
 A. Miller, & M. Kane, Federal Practice and Procedure § 1778, pp. 123–124 (3d ed. 2005)); see also
 Allapattah Servs., Inc. v. Exxon Corp., 333 F.3d 1248, 1261 (11th Cir. 2003) (“the presence of
 individualized damages issues does not prevent a finding that the common issues in the class
 predominate.”)
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 However, there is no issue with the proposed class definition in this case under

 Drazen. Unlike the Drazen class members who lacked standing under the recent

 Eleventh Circuit’s decision in Salcedo v. Hanna 936 F.3d 1162 (11th Cir. 2019)

 (holding that a plaintiff who received only a single text message had not suffered

 an injury in fact), in this case every class member suffered an injury-in-fact;

 namely, they all received a COBRA notice that violated the law and they all lost

 their health insurance as a result.

       Drazen is further distinguishable because this is not a TCPA case in which

 the Plaintiffs’ standing turns on how many unsolicited text messages, or voice

 messages, class members received. Such a fact intensive inquiry is simply not

 required here. Rather, unlike in Drazen, by definition Plaintiffs’ proposed class

 definition includes only people in Defendant’s Health Plan, “who were sent a

 COBRA notice by Defendant, in the form attached as Exhibit A, during the

 applicable four-year statute of limitations period, as a result of a qualifying event

 as determined by Defendant, who did not elect continuation coverage.” As a result,

 contrary to the problematic class definition in Drazen, Plaintiffs have already

 excluded individuals who lack standing. By way of just one specific example,

 participants who were sent the COBRA form but elected coverage would not have

 standing because they never lost their insurance under the Capital One Health

 Plan. For that reason, they are not included in the Plaintiffs’ proposed class

 definition. Thus, Plaintiffs’ proposed class definition complies with Drazen.

 C.    Ascertainability.

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       Ascertainability is no longer a requirement for class certification under Rule

 23 in this Circuit. Cherry v. Dometic Corp., 986 F.3d 1296, 1304 (11th Cir. 2021).

 (“We hold that administrative feasibility is not a requirement for certification

 under Rule 23.”). Nonetheless, not only is the class ascertainable, Defendant has

 already identified 28,763 class members—along with their last known addresses.

 D.    Plaintiffs Satisfied All of the Rule 23 (a) Class Certification
       Requirements.

       1.    The Proposed Class Is Sufficiently Numerous.

       The first requirement under Rule 23(a) is that the putative class must be “so

 numerous that joinder of all members is impracticable.” Fed. R. Civ. P. 23(a)(1).

 Here, the class is comprised of 28,763 persons. Numerosity is satisfied.

       2.    Plaintiffs Have Presented Common Questions of Fact and
             Law.

       “Under the Rule 23(a)(2) commonality requirement, a class action must

 involve issues that are susceptible to class-wide proof.” Murray v. Auslander, 244

 F. 3d 807, 811 (11th Cir. 2011); Cooper v. Southern Company, 390 F. 3d 695, 714

 (11th Cir. 2004). Proof of commonality is a “relatively light burden.” County of

 Monroe, Fla. v. Priceline.com, Inc., 265 F.R.D. 659, 667 (S.D. Fla. 2010).

       Plaintiffs’ Amended Complaint alleges several common questions. Just by

 way of example, Plaintiffs challenge: (1) whether Defendant violated COBRA's

 notice requirements; and, (2) whether and to what extent statutory penalties are

 appropriate. Plaintiffs’ putative class only includes individuals who were sent a

 COBRA Notice, as substantiated by Defendant's evidence, and who did not elect

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 coverage. Thus, each member of the purported class did receive, or should have

 received, the allegedly inadequate Notice and as such, has a claim, for statutory

 penalties, against the Defendant for the failure to provide adequate Notice.

 Consequently, as Judge Scriven held in Vazquez, Plaintiffs have alleged, as a

 threshold matter, common questions of fact concerning whether the COBRA

 Notice complies with the law. See, e.g., Vazquez v. Marriott Int'l, Inc., No.

 817CV00116MSSMAP, 2018 WL 3860217, at *3 (M.D. Fla. Aug. 7, 2018); see also

 Pierce v. Visteon Corp., No. 1:05-CV-1325-LJM-VSS, 2006 WL 6667384, at *3

 (S.D. Ind. Sept. 14, 2006) (holding there was commonality where plaintiff

 challenged defendants’ COBRA notice practices “as applied to the entire class”).

       An award of damages to one putative class member for a violation of COBRA

 justifies the award of damages to the remaining class members under the same

 legal theory, subject to the same defenses. Even if the award of damages were to

 vary among class members, the Eleventh Circuit has held that the presence of

 individualized damages does not prevent a finding of commonality. See Allapattah

 Serv., Inc. v. Exxon Corp., 333 F. 3d 1248, 1261 (11th Cir. 2003).

       While it is true that the award of damages may vary among class members

 based on the date of their termination, the per diem statutory penalty to be decided

 by the Court should probably be the same for all class members. The Defendant’s

 conduct towards the proposed class is uniform. In the present case, differences in

 individual damages will be minimal. The only difference will be the calculations,

 based on the number of days, which is merely a mechanical. Mills v. Foremost Ins.

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 Co., 511 F.3d 1300, 1310 (11th Cir. 2008). If there is any reason to differentiate

 among class members, that can best be decided in connection with the

 presentation of all facts in a single trial. Commonality is met.

        3.      The   Claims    Presented    by    the   Proposed      Class
                Representatives Are Typical of the Claims of the Class.

        “A class representative must possess the same interest and suffer the same

 injury as the class members in order to be typical under Rule 23(a)(3). Typicality

 measures whether a sufficient nexus exists between the claims of the named

 representatives and those of the class at large. Busby v. JRHBW Realty, Inc., 513

 F. 3d 1314, 1322 (11th Cir. 2008).

        In this case, the legal theory underlying the claims of the putative class

 members is identical to the Named Plaintiffs’ claims. Here, Plaintiffs’ claims are

 typical of the putative class they seek to represent, as they allege to have received

 the same COBRA notice as the putative class members and, thus, their claims issue

 stem from the same COBRA election notice (attached as Composite Exhibit A).

        Defendant has identified over 28,763 people who fit the class definition,

 which tracks the same class definition certified Vazquez v. Marriott Int'l, Inc., No.

 817CV00116MSSMAP, 2018 WL 3860217 (M.D. Fla. Aug. 7, 2018), along with the

 class definitions from the Valdivieso, Hicks, Silberstein, Rigney, Morris, Taylor,

 Kaintz, McNamara, and Carnegie cases cited supra.9 Accordingly, Rule 23(a)(3)


 9  When responding to this Motion Defendant will likely cite to an inapposite Report
 Recommendation (not an Order) entered in Bryant v. Wal-Mart Stores, Inc., No. 16- 24818-CIV,
 2020 WL 4333452, at *1 (S.D. Fla. July 15, 2020) (“the Bryant R & R”)(holding plaintiff lacked
 standing at the class-certification stage because plaintiff “had already secured coverage under her
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 is also satisfied. See, e.g., Pierce, 2006 WL 6667384, at *4 (typicality met where

 “[a]ll of the class claims stem from Defendants’ alleged failure to provide COBRA

 notices pursuant to the dictates of 29 U.S.C. § 1166, a common course of conduct,

 and are based upon the same legal theory.”)

        Individual variations among class members’ claims with respect to the

 extent of their damages do not defeat typicality for purposes of class certification.

 Kornberg v. Carnival Cruise Lines, Inc., 741 F.2d 1332, 1337 (11th Cir. 1984)

 (“Differences in the amount of damages between the class representative and other

 class members does not affect typicality.”). Simply put, there is a sufficient nexus

 between the claims of the Named Plaintiffs and those of the class members such

 that typicality is satisfied.

        Defendant may argue that the Named Plaintiffs’ purported individualized

 lack of understanding of the COBRA Notice somehow defeats typicality. However,

 whether a COBRA Notice provides adequate information is not based on an




 domestic partner’s Plan coverage by the time she received her COBRA election notice.”). However,
 this case is easily and readily distinguishable from the Bryant R & R. Unlike here, in the defendant
 no plaintiff suffered a lapse of coverage, nor paid increased insurance premiums, nor acted
 differently as a result of the deficient COBRA notice at issue. That is simply not what happened in
 this case. For example, Bacs and her family lost their health insurance during the entirety of
 December of 2018. (Declaration of Susan Bacs, ¶ 15). Additionally, Jessica Roubert lost coverage
 and, as a result, her disabled young son lost access to his special needs dentist and she had to stop
 “seeing a psychiatrist and later ran out of my prescribed medicines to the detriment of my mental
 health. Only later, during this lawsuit, did I learn that for approximately an extra fifty dollars
 ($50) per month more than what I paid for insurance through my husband’s employer.”
 (Declaration of Jessica Roubert, ¶ ¶ 15-16). Such facts distinguish this case from the Bryant R &
 R, making it inapplicable here. This case is much closer, both procedurally and factually, to
 Vazquez v. Marriott Int'l, Inc., No. 817CV00116MSSMAP, 2018 WL 3860217 (M.D. Fla. Aug. 7,
 2018).


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 individual’s understanding of the notice but, rather, an objective determination of

 whether the mailer complies with the letter of the statute. Rodriguez v. Int’l Coll.

 of Bus. And Tech., 364 F.Supp.2d 40, 46 (D.P.R. 2005).

       4.     The Proposed Class Representatives Will Fairly and
              Adequately Protect and Represent the Interests of the Class.

       The final requirement of Rule 23(a) is that the representative parties will

 fairly and adequately protect the interests of the Class. Fed. R. Civ. P. 23(a)(4). The

 adequacy of representation requirement encompasses two separate inquiries: (1)

 whether any substantial conflicts of interest exist between the representatives and

 the class; and (2) whether the representatives will adequately prosecute the action.

 Valley Drug Co. v. Geneva Pharms., Inc., 350 F. 3d 1181, 1189 (11th Cir. 2003).

       According to the Supreme Court, the central component of representative

 adequacy is the absence of conflicts of interest between the named representative

 and the class. Amchem Prod., Inc. v. Windsor, 521 U.S. 591, 625–26 (1997). The

 proposed Class Representatives, Susan Bacs and Jessica Roubert, can and will

 fairly represent the interests of the Class and have no conflicts with or antagonistic

 to the Class. (See Declaration of Jessica Roubert, ¶ 6); (see also Declaration of

 Susan Bacs, ¶ 6). Both answered extensive written discovery propounded by

 Defendant. Ms. Roubert has already been deposed, and Ms. Bacs is set to be

 deposed on August 12, 2022. Both have represented the class well thus far—and

 they will continue doing so.

       Lastly, the proposed Class Representatives, Susan Bacs and Jessica Roubert,

 retained the undersigned counsel who possess the requisite experience litigating
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 class actions, including employee rights’ claims in Federal court.   Copies of the

 undersigned Declarations identifying their extensive class action and litigation

 history are attached hereto. (See generally Declarations of Luis A. Cabassa,

 Brandon J. Hill, and Amanda E. Heystek). Plaintiffs respectfully submit that

 adequacy under Rule 23(s) is satisfied.

 E.    Plaintiffs Have Also Satisfied Rule 23(b)(3).

       Once the requirements of Rule 23(a) have been met, Plaintiffs must then

 satisfy at least one of the alternative requirements of Rule 23(b) for the proposed

 class to be certified. Plaintiffs rely on Rule 23(b)(3).

              1.     Common Issues Predominate.

       Predominance is governed by an analysis of whether liability may be

 resolved on a class-wide basis. Though not a determination on the merits, a Rule

 23(b)(3) analysis prevents the class from degenerating into a series of individual

 trials. Andrews v. AT&T, 95 F.3d 1014, 1023 (11th Cir. 1996).

       Here, common questions of law and fact predominate. The central issues

 revolve around a standardized COBRA notice that was common to all class

 members, whether that notice was lawful, and whether Defendant should be

 required to pay statutory penalties for utilizing that notice.

       In other, similar cases involving COBRA notices, courts have found that

 common issues predominated. See, e.g., Slipchenko v. Brunel Energy, Inc., 2013

 WL 4677918, at *13 (S.D. Tex. Aug. 30, 2013); Pierce, 2006 WL 6667384, at *5.

 Merely that a few minor differences may exist between COBRA notices utilized by

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 Capital One during the class period, mainly with respect to the COBRA form’s

 grammar and formatting, does nothing to interfere with the fact that in this case,

 which rests on the deficient COBRA election notice sent out by Defendant, the

 common questions identified above unquestionably predominate over any

 individualized issues, making class treatment appropriate.        See Reardon v.

 Closetmaid Corp., 2013 WL 6231606, at *18 (stating “[t]he fact that [defendant]

 may raise distinct factual defenses as to some members of [the class] … is not fatal

 to the predominance requirement’s fulfillment.”).

       When responding to this Motion, Defendant will likely argue that common

 questions do not predominate because individualized proof of the motivations of

 thousands of putative class members is required to determine whether, and to

 what extent, Defendant is liable. More specifically, Defendant may argue

 predominance cannot be met because too many individualized questions exist as

 to the class members, including whether and which class members could afford

 coverage, whether and which class members obtained insurance elsewhere before

 losing coverage, etc.

       However, the Court should reject any such arguments outright. As Judge

 Scriven explained in Vazquez: “The resolution of whether the COBRA Notice

 complied with the law, however, does not break into individualized inquiries;

 rather, it is an objective determination and central to the resolution of any claims

 of any purported class members. Thus, the question of individual class members’



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 motivations is irrelevant as to Defendant's liability for the allegedly inadequate

 COBRA notice.”10 This Court should follow Vazquez. Predominance is established.

              2.     A Class Action is Superior to Adjudicate This Claim.

       Finally, superiority under Rule 23(b)(3) is also established. “The second

 prong of Rule 23(b)(3) requires a court to determine whether ‘a class action is

 superior to other available methods for fairly and efficiently adjudicating the

 controversy.’ ” Here the superiority requirement of Rule 23(b)(3) is easily satisfied.

 There is little individual interest in individual control over this lawsuit. Members

 of the Class have not filed individual lawsuits against the Defendant. Moreover, the

 manageability of handling thousands of COBRA claims against Defendant would

 be facilitated by the class action vehicle.        Accordingly, concentrating all the

 potential litigation concerning the COBRA rights of Plaintiffs and the putative class

 in this Court will avoid a multiplicity of suits, will conserve judicial resources and

 the resources of the parties, and is the most efficient means of resolving the COBRA

 claims of the Plaintiffs and Putative Class Members.

       WHEREFORE, Named Plaintiffs move this Honorable Court to certify the

 “National COBRA Putative Class” defined on page 1 of this Motion; appoint Named

 Plaintiffs Jessica Roubert and Susan Bacs as Class Representatives; appoint

 undersigned counsel as class counsel; and allow them to notify the Class members

 via a Court-approved notice.


 10Vazquez  v. Marriott Int'l, Inc., No. 817CV00116MSSMAP, 2018 WL 3860217, at *6 (M.D. Fla.
 Aug. 7, 2018).

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       Dated this 3rd day of August, 2022.

                                         Respectfully submitted,

                                         /s/Brandon J. Hill
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                                         Attorneys for Plaintiffs

                            CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 3rd day of August, 2022, I electronically

 filed the foregoing with the Clerk of the Court by using the CM/ECF system, which

 will send a notice of electronic filing to all counsel of record.


                                         /s/ Brandon J. Hill
                                         BRANDON J. HILL




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